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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MARK LESLIE,                              )
                                           )
                      Plaintiff,           )
                                           )
 vs.                                       )            Case No. 20-cv-1071-DWD
                                           )
 COMMISSIONER OF SOCIAL                    )
 SECURITY,                                 )
                                           )
                      Defendant.           )

                              MEMORANDUM & ORDER

DUGAN, District Judge:

       This matter comes before the Court on Plaintiff Mark Leslie’s motion for leave to

proceed in forma pauperis. (Doc. 2). Two issues must be resolved before in forma pauperis

status can be granted: the plaintiff must show that he is indigent by submitting an

affidavit “that includes a statement of all assets [he] possesses [showing] that [he] is

unable to pay such fees or give security therefor,” and the plaintiff’s complaint must not

be clearly frivolous or malicious. 28 U.S.C. § 1915(e)(2).

       Here, the Court is satisfied that Plaintiff is indigent based on his affidavit, and the

record does not suggest that Plaintiff’s claims are frivolous or malicious. Accordingly, the

Court GRANTS Plaintiff’s motion for leave to proceed in forma pauperis without

prepayment of fees and costs. (Doc. 2). Plaintiff is warned, however, that should it become

apparent at any point in the future that this action is frivolous or malicious, this action

may be dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)(i).




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       If Plaintiff wishes for the United States Marshals Service to serve process in this

case, Plaintiff shall provide the United States Marshals Service with a summons issued in

this case, completed USM-285 forms, and sufficient copies of the complaint. The Court

DIRECTS the United States Marshal, upon receipt of the aforementioned documents, to

serve a copy of the summons, complaint, and this Order upon Defendant Commissioner

of Social Security, the United States Attorney for the Southern District of Illinois, and the

Attorney General of the United States, pursuant to Federal Rule of Civil Procedure 4(c)(3)

and in the manner specified by Rule 4(i)(1) & (2). Costs of service shall be borne by the

United States.

       This entire matter shall be REFERRED to a United States magistrate judge for

disposition, pursuant to Local Rule 72.2(b)(3) and 28 U.S.C. § 636(c), only if all parties

consent to such a referral.

       SO ORDERED.

       Dated: October 21, 2020



                                                         ______________________________
                                                         DAVID W. DUGAN
                                                         United States District Judge




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